         Case 1:23-cv-00576-RDM Document 33 Filed 10/17/23 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


Amin Allawi Ali, et al.                                )
                                                       )
                             Plaintiffs,               )
                                                       )
       v.                                              )    Civil Action 1:23-cv-00576-RDM
                                                       )
Mohamed Ben Zayed Al-Nahyan, et al.                    )
                                                       )
                                                       )
                                                       )
                             Defendants.               )



                  DEFENDANT PHEBE NOVAKOVIC’S MOTION
            REQUESTING CORRECTION OF HER NAME ON THE DOCKET

        In Plaintiffs’ Complaint, Plaintiffs misspelled Defendant Phebe Novakovic’s name as

“Phoebe Novakovic.” See generally Dkt. 1 at 2. Ms. Novakovic has appeared in this case using

her properly spelled name, but that name has not yet been updated on the docket. See Dkt. 15-18,

27, and 30. Ms. Novakovic respectfully requests that the Court direct that her name, “Phebe

Novakovic,” be corrected on the docket. A proposed order is attached.



Dated: October 17, 2023                      Respectfully submitted,

                                             /s/ Matthew S. Hellman

                                             Matthew S. Hellman (DC Bar #484132)
                                             JENNER & BLOCK LLP




                                               1
Case 1:23-cv-00576-RDM Document 33 Filed 10/17/23 Page 2 of 3




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                              2
         Case 1:23-cv-00576-RDM Document 33 Filed 10/17/23 Page 3 of 3




                                 CERTIFICATE OF SERVICE


       I hereby certify that on October 17, 2023, the foregoing Motion will be filed with the Court

and submitted to all counsel of record by operation of the Court’s electronic filing system.


Dated: October 17, 2023                         Respectfully submitted,

                                                /s/ Matthew S. Hellman

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